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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE


  UNITED STATES OF AMERICA                       )
                                                 )
                    v.                           )       Crim. No. 2:2J-cr-00150-JA W
                                                 )
  JEFFREY RICHARD                                )

                              AGREEMENT TO PLEAD GUILTY
                         (WITH STIPULATIONS AND APPEAL WAIVER}

         The United States of America, by and through Darcie N. McElwee, United States

 Attorney for the District of Maine, and Craig M. Wolff, Assistant United States Attorney, and

 Jeffrey Richard, (hereinafter "'Defendant"), acting for himself and through his counsel, Richard

 S. Berne, Esquire, and Peter E. Rodway, Esquire, enter into the following Agreement based upon

 the promises and understandings set forth below.

         I.        Guilty Pica/Dismissal of Counts. Defendant agrees to plead guilty to Count One

 of the Indictment herein pursuant to Rule 11 of the Federal Rules of Criminal Procedure (Fed. R.

 Crim. P.). Count One charges Defendant "'ith tax evasion, in violation of 26 U.S.C. § 7201. The

 United States agrees that it will move to dismiss counts rwo through Nine of the Indictment

 pursuant to Rule 11 ( c)( I )(A) at the time of sentencing. The parties agree and understand that if

 the Court should deny that motion to dismiss, the provisions of Rule 11 (c)(S) will apply.

        2.         Sentencing/Penalties. Defendant agrees to be sentenced on the charge described

 above. Defendant understands that the penalties that are applicable to the charge described above

 are as follows:

                   A.     A maximum prison term of five years;

                   B.     A maximum fine of$250,000;
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                · C.         A mandatory special assessment of$IO0.00 which Defendant agrees to
                             pay at or before the time that he enters a guilty plea; and

                 D.         A term of supervised release of not more than three years. Defendant
                            understands that his failure to comply with any of the conditions of
                            supervised release may result in revocation of supervised release,
                            requiring Defendant to serve up to two additional years in prison for any
                            such revocation of supervised release pursuant to J8 U.S.C. § 3583.

         3.      Restitution.

                 A.         Defendant agrees to pay restitution to the Internal Revenue Service in the

  total amount of $910,980.37, pursuant to 18 U.S.C. § 3663(a)(3).

                 B.         Defendant agrees that the total amount of restitution reflected in this

 agreement results from Defendant's fraudulent conduct.

                C.          The total amount of restitution consists of the following:

                Tax Year                                    Amount to be Credited to Tax
                     2016                                                       $433,363.53
                     2015                                                       $156.220.23
                     2014                                                       $206.170.23
                     2013                                                       $115,226.38

                D.          Defendant agrees that restitution is due and payable immediately after the

 judgment is entered and is subject to immediate enforcement, in full, by the United States. If the

 Court imposes a. schedule of payments, Defendant agrees that the schedule of payments is a

 schedule of the minimum payment due, and that the payment schedule does not prohibit or limit

 the methods by which the United States may immediately enforce the judgment in full. The IRS

 will use the amount ofrestitution ordered as the basis for a civil assessment under 26 U.S.C.

 § 6201(a)(4). Defendant does not have the right to challenge the amount of this restitution-based

 assessment. See 26 U.S.C. § 6201(a)(4)(C). Neither the existence ofa restitution payment


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  schedule nor Defendant's timely payment of restitution according to that schedule will preclude

  the IRS from immediately collecting the full amount of the restitution-based assessment.

                 E.      Defendant is entitled to receive credit for restitution paid pursuant to this

  plea agreement against those assessed civil tax liabilities due and owing for the same periods for

  which restitution was ordered. Defendant understands and agrees that the plea agreement does

 not resolve the Defendant's civil tax liabilities, that the IRS may seek additional taxes, interest

 and penalties from Defendant relating to the conduct covered by this plea agreement and for

 conduct relating to another time period, and that satisfaction of the restitution debt does not

 settle, satisfy, or compromise Defendant's obligation to pay any remaining civil tax liability.

 Defendant authorizes release of information to the IRS for purposes of making the civil tax and

 restitution-based assessments.

                F.      Defendant understands that he is not entitled to credit with the IRS for any

 payment until the payment is received by the IRS.

                Q.      If full payment cannot be made immediately, Defendant agrees to make a

 complete and accurate financial disclosure to the IRS on forms prescribed by the IRS (including,

 but not limited to, IRS Form 433-A and Form 433-B, as appropriate), and to disclose to the IRS

 any and all additional financial information and financial statements provided to the probation

 office. Defendant also agrees to provide the above-described information to the probation office.

                H.      If Defendant makes a payment of the restitution agreed to in paragraph

 3(C) above prior to sentencing, the payment will be applied as a credit against the restitution

 ordered pursuant to paragraph 3(C).

        4.   Agreements Regarding Sentencing. The parties agree to make the following non-

 binding recommendations as to sentencing:



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                    A.     The parties agree to recommend that the Court find that Defendant has

  accepted responsibility for the offense of conviction, and that the Court should reduce

  Defendant's Adjusted Offense Level pursuant to U.S.S.G. § 3E I. I. The Government reserves the

  right not to recommend a reduction under U.S.S.G. § 3E 1.1 if, at any time between his execution

  of this Agreement and sentencing, Defendant: (a) fails to admit a complete factual basis for the

  plea; (b) fails to truthfully admit his conduct in the offense of conviction; (c) engages in conduct

  which results in an adjustment under U.S.S.G. § 3C 1.1; (d) falsely denies or frivolously contests

  relevant conduct for which Defendant is accountable under U.S.S.G. § l Bl J or previous

 convictions that the defendant has sustained; or (e) engages in new criminal conduct. Defendant

 understands that he may not withdraw the guilty plea if, for any of the reasons listed above, the

 Government does not recommend that he receive a reduction in Offense Level for acceptance of

 responsibility.

                   8.     The government agrees to recommend a sentence of imprisonment of no

 more than one year and one day.

        The parties expressly agree and understand that should the Court reject either or both of

 the recommendations of the parties, Defendant will not thereby be permitted to withdraw his plea

 of guilty. The parties agree and understand that the Court has the discretion to impose any lawful

 sentence.

        5.         Appeal Waivers. Defendant is aware that Title 18, United States Code, Section

 3742 affords a defendant the right to appeal the sentence imposed. Knowing that, Defendant

 waives the right to appear the following:

                   A.     Defendant's guilty plea and any other aspect of Defendant's conviction in
                          the above.captioned case; and

                   B.    A sentence of imprisonment that does not exceed 24 months.

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  The number of months mentioned in this paragraph does not necessarily constitute an estimate of

  the sentence that the parties expect will be imposed.

          Defendant's waiver of his right to appeal shall not apply to appeals based on a right that

  has been newly recognized by the Supreme Court and made retroactively applicable to cases on

  collateral review.

         6.       New Criminal Conduct. Defendant agrees that he will not commit any other

  federal or state crime.

         7.      Conseguences of Breach. If Defendant violates or fails to perfonn any

 obligations under this Agreement (''a breach"), the United States will be released from its

 obligations hereunder, including its obligations to make any sentencing recommendations under

 Paragraph 4, and may fully prosecute Defendant on all criminal charges that can be brought

 against Defendant. With respect to such a prosecution:

                 A.         The United States may use any statement that Defendant made pursuant to
                            this Agreement, including statements made during plea discussions and
                            plea colloquies, and the fact that Defendant pleaded guilty, and Defendant
                            hereby waives any claim under Rule 410 of the Federal Rules of Evidence
                            or Rule I l(t) of the Federal Rules of Criminal Procedure that such
                            statements and guilty plea are inadmissible.

                 B.         Defendant waives any and all defenses based on the statute of limitations
                            with respect to any such prosecution that is not time-barred on the date
                            that this Agreement is signed by the parties.

 If the United States chooses to exercise its rights under this paragraph, the determination of

 whether Defendant has committed a breach shall be made by the Court upon un appropriate

 motion. In a proceeding on such motion, the United States shall have the burden to establish

 Defendant's breach by a preponderance of the evidence.

        8.      Speedy Trial Waiver. Defendant agrees to waive, and hereby does waive, any and

 all rights he might have under the Speedy Trial Act, 18 U.S.C. §§ 3161-64, from the date of the


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  execution of this Agreement and continuing thereafter through and including the date upon

  which sentence is imposed. In the event that the Court determines that Defendant has breached

  this Agreement, as set forth in Paragraph 7 of this Agreement, then the waiver described in this

  Paragraph shall continue through and including the date on which the Court determines that such

  a breach has occurred. Defendant expressly consents to the entry of an Order by the Court

  excluding such periods of time from such consideration.

         9.      Forfeiture. Defendant agrees to waive any claim to, and assist the United States

  in effecting the forfeiture or other transfer of, any property that may be subject to forfeiture to the

  United States under any law of the United States.

         JO.     Validity of Other Agreements; Signature. This Agreement supersedes any prior

 understandings, promises, or conditions between the United States and Defendant. However, in

 the event that Defendant fails to enter his guilty plea or is allowed to withdraw his guilty plea

 entered hereunder, and the Court determines that Defendant has not breached this Agreement,

 then any proffer agreement between the parties shall remain in effect. No additional

 understandings, promises, or conditions will be entered into unless in writing and signed by all

 parties. Defendant's signature in the space designated signifies his full and voluntary acceptance

 of this Agreement.

                                                                                                              [
         I have read this Agreement and have carefully reviewed every part of it. I understand it
 and l have voluntarily agreed to it.                                                                         !
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        We are legal counsel for Jeffrey Richard. We have carefully reviewed every part of this
  Agreement with Mr. Richard. To our knowledge, Mr. Richard's decision to enter into this
  Agreement is an informed and voluntary one.




                                             Richard f-s?me, Esq.
                                             Attorney for Defendant




 Date~
                                             Peter E. Radway, Esq.
                                             Attorney for Defendant



        FOR TI-JE UNITED STATES:             Darcie N. McElwee
                                             United States Attorney



 Date:_7/13/2023
       _ _ _ _ _ __
                                                       '""'~"----
                                             Craig M. Wolff
                                             Assistant U.S. Attorney



                              Approved:                                            For F. Todd Lowell
                                             Supervisory Assistant U.S. Attorney




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